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 7
                                                UNITED STATES DISTRICT COURT
 8
                                                          DISTRICT OF NEVADA
 9
     DR. TAM          NGUYEN,                                                  Case No. 2:12-cv-01527-GMN-GWF
10
                                Plaintiff,
11   VS.
                                                                                      DEFENDANTS' ANSWER TO
12   LAS VEGAS METROPOLITAN POLICE                                                     PLAINTIFF'S COMPLAINT
     DEPARTMENT, a political subdivision of the
13   State of Nevada; Police Officer NAKAGAWA
     (LVMPD #5476), individually and as police
14   officer employed by the Las Vegas
     Metropolitan Police Department; Police Office•
15   GEIGER (LVMPD #9864), individually and as
     police officer employed by the Las Vegas
16   Metropolitan Police Department; POLICE
     OFFICER JOHN DOES I-XX; and JOHN
17   DOES I-XX, inclusive,

18                              Defendants.

19

20              Defendants Las               Vegas Metropolitan           Police   Department, Police Officer Nakagawa,                and

21   Police Officer              Greiger ("Answering Defendants"), by                  and   through    their      counsel, Kaempfer
22   Crowell Renshaw Gronauer &                     Fiorentino, and for their         answers   to   Plaintiff's    Complaint     on   file

23   herein,    answers, denies and             alleges   as   follows:

24   /./././


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 1                                                              PARTIES

 2             1.               Answering Paragraph       1 of Plaintiff's          Complaint, Answering            Defendants      are


 3   without     knowledge           or   information sufficient to form        a   belief    as   to the truth of the     allegations
 4   contained in said            paragraph   and therefore    deny   the   same.


 5             2.               Answering Paragraph     2 of Plaintiff's     Complaint, Answering             Defendants admit the

 6   allegations       contained therein.

 7             3.               Answering Paragraph     3 of Plaintiff's     Complaint, Answering             Defendants admit the

 8   allegations       contained therein.

 9             4.               Answering Paragraph     4 of Plaintiff's     Complaint, Answering             Defendants admit the

10   allegations       contained therein.

11             5.               Answering Paragraph       5 of Plaintiff's          Complaint, Answering            Defendants      are


12   without        knowledge        or   information sufficient to form        a   belief    as   to the truth of the     allegations
13   contained in said            paragraph   and therefore    deny   the   same.


14              6.              Answering Paragraph       6 of Plaintiff's          Complaint, Answering            Defendants      are


15   without        knowledge        or   information sufficient to form        a   belief    as   to   the truth of the   allegations
16   contained in said            paragraph    and therefore   deny   the   same.


17                                   FACTS COMMON TO ALL CAUSES OF ACTION

18              7.              Answering Paragraph     7 of Plaintiff's     Complaint, Answering             Defendants admit the

19   allegations       contained therein.

20              8.              Answering Paragraph       8 of Plaintiff's          Complaint, Answering            Defendants      are


21   without         knowledge       or   information sufficient to form        a    belief   as   to the truth of the     allegations
22   contained in said            paragraph    and therefore   deny   the   same.


23   /./././

24   /./././


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 1              9.             Answering Paragraph            9 of Plaintiff's              Complaint, Answering                  Defendants       are


2    without     knowledge             or    information sufficient to form             a       belief    as     to   the truth of the   allegations
 3   contained in said             paragraph      and therefore    deny   the    same.


 4              10.            Answering Paragraph            10 of Plaintiff's                 Complaint, Answering              Defendants        are


 5   without         knowledge         or    information sufficient to form             a       belief    as     to the   truth of the   allegations
 6   contained in said              paragraph     and therefore    deny   the    same.


 7              11.            Answering Paragraph            11 of Plaintiff's                 Complaint, Answering              Defendants        are


 8   without         knowledge         or    information sufficient to form             a       belief    as     to the truth of the     allegations
 9   contained in said              paragraph     and therefore    deny   the     same.


10               12.           Answering Paragraph            12 of Plaintiff's         Complaint, Answering                    Defendants       allege
11   that the         allegations           contained therein call for non-factual                       legal        conclusions and    Answering
12   Defendants          are      therefore not    required   to answer    the     same.


13               13.              Answering Paragraph         13 of Plaintiff's             Complaint, Answering                 Defendants       deny
14   the   allegations            contained therein.

15               14.              Answering Paragraph          14 of Plaintiff's                Complaint, Answering               Defendants       are


16   without         knowledge          or    information sufficient to form                a   belief     as     to the truth of the    allegations
17   contained in said              paragraph     and therefore    deny    the    same.


18               15.              Answering Paragraph          15 of Plaintiff's                Complaint, Answering               Defendants       are


19   without         knowledge          or    information sufficient to form                a    belief    as     to the truth of the    allegations
20   contained in said              paragraph     and therefore    deny    the    same.


21                16.             Answering Paragraph          16 of Plaintiff's                Complaint, Answering               Defendants        are


22   without         knowledge          or    information sufficient      to     form       a    belief    as     to the truth of the     allegations
23    contained in said             paragraph      and therefore   deny    the    same.


24    /./././


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 1                17.             Answering Paragraph         17 of Plaintiff's         Complaint, Answering               Defendants        are


 2   without       knowledge           or    information sufficient to form         a    belief   as   to    the truth of the     allegations
 3   contained in said               paragraph   and therefore     deny   the   same.


 4                18.             Answering Paragraph         18 of Plaintiff's         Complaint, Answering               Defendants        are


 5   without       knowledge            or   information sufficient to form         a    belief   as   to    the truth of the     allegations
 6   contained in said               paragraph    and therefore    deny   the   same.


 7                                                     FIRST CLAIM FOR RELIEF

 8                                                  (Violation     of Constitutional        Rights)
 9                19.             Answering Paragraph        19 of Plaintiff's      Complaint, Answering                Defendants repeat

10   and       reallege      their    answers    to the   preceding paragraphs, inclusive,                  and   incorporate   the   same   by
11   reference          as   though fully      set forth herein.

12                20.             Answering Paragraph        20 of Plaintiff's          Complaint, Answering             Defendants      deny
13   the   allegations            contained therein.

14                21.             Answering Paragraph        21 of Plaintiff's          Complaint, Answering             Defendants      deny
15   the   allegations            contained therein.

16                22.             Answering Paragraph        22 of Plaintiff's          Complaint, Answering             Defendants      deny
17   the   allegations            contained therein.

18                23.             Answering Paragraph        23 of Plaintiff's          Complaint, Answering             Defendants      deny
19   the   allegations            contained therein.

20                24.             Answering Paragraph        24 of Plaintiff's          Complaint, Answering              Defendants      deny
21   the   allegations            contained therein.

22                25.             Answering Paragraph        25 of Plaintiff's          Complaint, Answering              Defendants      deny
23   the   allegations            contained therein.

24   /./././


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 1             26.              Answering Paragraph       26 of Plaintiff's   Complaint, Answering        Defendants      deny
 2   the   allegations          contained therein.

 3             27.              Answering Paragraph       27 of Plaintiff's     Complaint, Answering      Defendants      deny
 4   the   allegations          contained therein.

 5             28.              Answering Paragraph       28 of Plaintiff's     Complaint, Answering      Defendants      deny
 6   the   allegations          contained therein.

 7             29.              Answering Paragraph       29 of Plaintiff's     Complaint, Answering      Defendants      deny
 8   the   allegations          contained therein.

 9                                               SECOND CLAIM FOR RELIEF

10                                                             (Monell Claim)
11                                              (Violation     of Constitutional   Rights)
12              30.             Answering Paragraph       30 of Plaintiff's   Complaint, Answering       Defendants repeat

13   and    reallege       their    answers   to the   preceding paragraphs, inclusive,      and   incorporate   the   same   by
14   reference        as   though fully    set forth herein.

15              31.             Answering Paragraph       31 of Plaintiff's     Complaint, Answering      Defendants      deny
16   the   allegations          contained therein.

17              32.             Answering Paragraph       32 of Plaintiff's     Complaint, Answering      Defendants      deny
18   the   allegations          contained therein.

19              33.             Answering Paragraph       33 of Plaintiff's     Complaint, Answering      Defendants      deny
20   the   allegations          contained therein.

21              34.             Answering Paragraph       34 of Plaintiff's     Complaint, Answering      Defendants      deny
22   the   allegations          contained therein.

23              35.             Answering Paragraph       35 of Plaintiff's     Complaint, Answering       Defendants      deny
24   the   allegations          contained therein.


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           1                 36.             Answering Paragraph             36 of Plaintiff's    Complaint, Answering     Defendants      deny
           2    the   allegations            contained therein.

           3                 37.             Answering Paragraph             37 of Plaintiff's    Complaint, Answering     Defendants      deny
           4    the   allegations            contained therein.

           5                 38.             Answering Paragraph             38 of Plaintiff's    Complaint, Answering     Defendants      deny
           6    the   allegations            contained therein.

           7                 39.             Answering Paragraph             39 of Plaintiff's    Complaint, Answering     Defendants      deny
           8    the   allegations            contained therein.

           9                                                          THIRD CLAIM FOR RELIEF

          10                                                        (False   Arrest/False   Imprisonment)
          11                 40.             Answering Paragraph             40 of Plaintiff's    Complaint, Answering    Defendants repeat

          12    and       reallege      their    answers      to    the   preceding paragraphs, inclusive,    and   incorporate   the   same   by
          13    reference          as   though fully    set        forth herein.

          14                 41.             Answering Paragraph             41 of Plaintiff's    Complaint, Answering     Defendants      deny
          15    the   allegations            contained therein.

          16                 42.             Answering Paragraph              42 of Plaintiff's   Complaint, Answering     Defendants      deny
          17    the   allegations            contained therein.

          18                 43.             Answering Paragraph              43 of Plaintiff's   Complaint, Answering     Defendants      deny
          19    the   allegations            contained therein.

          20                 44.             Answering Paragraph              44 of Plaintiff's   Complaint, Answering     Defendants      deny
          21    the   allegations            contained therein.

---.•,,   22                 45.             Answering Paragraph              45 of Plaintiff's   Complaint, Answering      Defendants     deny
          :23   the   allegations            contained therein.

•o•       24    /./././


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 1                46.            Answering Paragraph                  46 of Plaintiff's   Complaint, Answering          Defendants      deny
 2   the   allegations           contained therein.

 3                47.            Answering Paragraph                  47 of Plaintiff's   Complaint, Answering          Defendants      deny
 4   the   allegations           contained therein.

 5                                                         FOURTH CLAIM FOR RELIEF

 6                                                (Intentional        Infliction of Emotional        Distress)
 7                48.            Answering Paragraph                 48 of Plaintiff's    Complaint, Answering         Defendants repeat

 8   and       reallege       their    answers          to the    preceding paragraphs, inclusive,         and   incorporate   the   same   by
 9   reference          as   though fully         set    forth herein.

10                49.            Answering Paragraph                  49 of PlaintifFs    Complaint, Answering          Defendants      deny
11   the   allegations           contained therein.

12                50.            Answering Paragraph                  50 of Plaintiff's   Complaint, Answering          Defendants      deny
13   the   allegations           contained therein.

14                51.            Answering Paragraph                  51 of PlaintifFs    Complaint, Answering          Defendants      deny
15   the   allegations           contained therein.

16                                                               AFFIRMATIVE DEFENSES

17                Further,        as    affirmative defenses to each and all of Plaintiff's                  alleged   "causes of    action,"
18   Answering               Defendants       allege:
19                                                        FIRST AFFIRMATIVE DEFENSE

20                Plaintiff's          Complaint          on     file herein fails to state   a   claim   against Answering     Defendants

21   upon which relief                 can   be   granted.
22   /./././

23   /./././

24   /./././


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 1                                                   SECOND AFFIRMATIVE DEFENSE

 2               Answering            Defendants           allege         that the         damages,                if any, suffered             by    Plaintiff in his

 3   Complaint           were       caused in whole            or     in party            by       the        negligence        of   a   third party      over       whom

 4   Answering           Defendants had              no   control.

 5                                                    THIRD AFFIRMATIVE DEFENSE

 6               Answering           Defendants' actions                  were       reasonable and                 justified    under the circumstances

 7   and    were       privileged.
 8                                                   FOURTH AFFIRMATIVE DEFENSE

 9                At all times mentioned in Plaintiff's                              Complaint, Answering                        Defendants acted under the

10   good       faith belief that their actions               were        legally justifiable.
11                                                        FIFTH AFFIRMATIVE DEFENSE

12                   The arrest and          imprisonment            of    Plaintiff, if            any,       was    completely justified              and   privileged
13   under the circumstances                    alleged      and      was        perfected pursuant                    to   probable          cause   and reasonable

14   cause      in    believing      the Plaintiff had committed                      a   criminal act.

15                                                        SIXTH AFFIRMATIVE DEFENSE

16                   There    can   be   no    recovery for          punitive damages against                           any     government official acting in
17   his   or   her official        capacity, pursuant             to 42 U.S.C.                §   1983.

18                                                   SEVENTH AFFIRMATIVE DEFENSE

19                   No award of         punitive damages                 can    be awarded                   against Answering               Defendants under the

20   facts and circumstances                   alleged     in Plaintiff'         s   Complaint.
21                                                    EIGHTH AFFIRMATIVE DEFENSE

22                   At the time and           place alleged              in Plaintiff's                Complaint,          and for       a    period    of time       prior
23   thereto, Plaintiff did              not   exercise      ordinary           care, caution                 or   prudence      for the      protection      of his    own


24   safety,         and the      injuries     and    damages complained                           of    by    Plaintiff in his          Complaint,       if any,      were




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 1   directly    and       proximately      caused     or    contributed to       by    the    fault, failure           to       act, carelessness and

 2   negligence        of Plaintiff.

 3                                               NINTH AFFIRMATIVE DEFENSE

 4              At     all times          mentioned         in Plaintiff's       Complaint, Answering                            Defendants       did not

 5   personally participate             in any of the Plaintiff's         alleged      violations of his constitutional                    rights.
 6                                               TENTH AFFIRMATIVE DEFENSE

 7              To the extent Plaintiff's                  causes   of actions          against Answering                        Defendants sound in

 8   negligence,          no   recovery    can   be had     predicated     upon 42 USC           §   1983.

 9                                           ELEVENTH AFFIRMATIVE DEFENSE

10              Plaintiff's suit fails to state claim for relief                       as     he fails to         allege          a   violation of     right,
11   privilege,      or    immunity        secured    by    the United States Constitution                   or    by    the laws of the United

     States.

                                                TWELFTH AFFIRMATIVE DEFENSE

                Answering            Defendants did not enact               or   promulgate          any     policy, statute,              ordinance       or


     custom,     policy        or   procedure    which denied       or    abridged      any of the Plaintiff'                s   constitutional      rights.
                                            THIRTEENTH AFFIRMATIVE DEFENSE

                Answering            Defendants      are    qualifiedly    immune from the actions                       alleged against          them in

     Plaintiff's     Complaint.
                                           FOURTEENTH AFFIRMATIVE DEFENSE

                The Nevada Revised Statutes,                     chapter 41,        limits the       damages            that may be collectable

     against a political            subdivision of the State of Nevada to                   seventy-five      thousand dollars               ($75,000).
     /./././

     /./././

     /./././


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 1                                               FIFTEENTH AFFIRMATIVE DEFENSE

 2              Answering             Defendants          are      not   subject   to   suit upon the facts and conclusions                          as   stated in

 3   Plaintiff's      Complaint by              reason     of their      sovereign immunity              as a    political        subdivision of the State

 4   of Nevada and              more      particularly by            reason   of the    provisions       of NRS             41.031, 41.032, 41.033.
 5                                               SIXTEENTH AFFIRMATIVE DEFENSE

 6              Plaintiff's           Complaint          concerns         a   discretionary        function of              Answering          Defendants for

 7   which      Answering             Defendants         are       immune.

 8                                             SEVENTEENTH AFFIRMATIVE DEFENSE

 9              The Plaintiff's claims of                      a    constitutional violation            are   unsupported              in both fact and        law,
10   as   Plaintiff has not               alleged      sufficient basis from which                  a    constitutional interest                  might     arise in

11   conjunction          with the          alleged    actions.

12                                              EIGHTEENTH AFFIRMATIVE DEFENSE

13              Pursuant to FRCP                  11, all possible affirmative defenses                        may not have been                  alleged    herein

14    insofar    as   insufficient facts               were        available after reasonable             inquiry          upon the      filing    of Plaintiff's

15    Complaint,          and    therefore, Answering Defendants                         reserve    the       right        to amend their Answer to the

16    Complaint       to    allege      additional affirmative defenses if                   subsequent investigation                     so   warrants.

17              WHEREFORE, Answering Defendants                                     pray for   judgment               as    follows:

18               1.             That Plaintiff take                nothing by      virtue of his        Complaint            on   file   herein, and that the
19                              same        be dismissed with            prejudice;
20                              For    an    award of reasonable attorneys fees and costs of suit incurred in the defense

21                              of this      action;
22              1.1.1.1

23              1.1.1.1

24              1.1.1.1


                                                                                                                                                    Page     10 of 12
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 1              3.              For such other and further relief that this Court may deem      just   and proper in the

 2                              premises. .•, ,• 11•
                                        /J•) day of August,

                                                                   &IFI•RE•iIN•/• / )
 3              DATED this                                      2012.
                                                                               RENSHA•
 4

 5

 6                                                     BY:
                                                             LYS•S
                                                       GRONAU/L•
                                                       KAEMPFER.C---ROWELL


                                                                   A•S.k-/AN•ERS•.NL•evada-•    ar   .No. 5 7 81   )
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1                                          CERTIFICATE OF SERVICE

2              I, the undersigned, hereby certify that            on   this date I   electronically    filed the    foregoing
3   DEFENDANTS'                ANSWER     TO PLAINTIFF'S                 COMPLAINT         using      the court's CM/ECF

4    system which will send notification         to   the   following:
5    Cal J. Potter, III, Esq.
     Potter Law Offices
     1125 Shadow Lane
     Las Vegas, Nevada 89102
     (702) 385-1954
     (702) 385-9081 facsimile
     Attorney for Plaintiff
               DATED this               ay of   August, 2012.



                                                              an employee of
                                                              Kaempfer Crowell        Renshaw Gronauer & Fiorentino




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